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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


                                                x
OKLAHOMA FIREFIGHTERS PENSION                   :   Case No.
AND RETIREMENT SYSTEM, Individually :
and on Behalf of All Others Similarly Situated, :   CLASS ACTION
                                                :
                             Plaintiff,         :
                                                :   COMPLAINT FOR VIOLATIONS OF
       v.                                       :   THE FEDERAL SECURITIES LAWS
                                                :
PEABODY ENERGY CORPORATION,                     :
GLENN L. KELLOW, and AMY B.                     :   DEMAND FOR JURY TRIAL
SCHWETZ,                                        :
                                                :
                             Defendants.
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                                        INTRODUCTION

       Plaintiff Oklahoma Firefighters Pension and Retirement System (“Plaintiff”),

individually and on behalf of all others similarly situated, alleges the following based on

personal knowledge as to Plaintiff and Plaintiff’s own acts, and upon information and belief as

to all other matters based upon the investigation conducted by and through Plaintiff’s attorneys,

which included, among other things, a review of Securities and Exchange Commission (“SEC”)

filings by Peabody Energy Corporation (“Peabody” or the “Company”), as well as conference

call transcripts and media and analyst reports about the Company. Plaintiff believes that

substantial evidentiary support will exist for the allegations set forth herein after a reasonable

opportunity for discovery.

                                OVERVIEW OF THE ACTION

       1.       This is a securities class action brought on behalf of all persons or entities who

purchased or otherwise acquired Peabody common stock from April 3, 2017 through October

28, 2019, inclusive (the “Class Period”). The action is brought against Peabody and certain of

its officers and/or directors (collectively, “Defendants”) for violations of Sections 10(b) and

20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), and Rule l0b-5

promulgated thereunder.

       2.       Peabody is currently the largest coal mining company in the world, with 23 coal

mines throughout the United States and Australia. One of its mines in Australia is the North

Goonyella mine, which was acquired by Peabody in 2004 and through which the Company

ships coal to customers in India, China and South Korea. As of the start of the Class Period, the

North Goonyella mine was considered Peabody’s most profitable single operation.

       3.       On April 3, 2017, the start of the Class Period, Peabody emerged from

bankruptcy protection and reported record production output, while simultaneously touting the
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Company’s “record safety” achievements and its “ongoing commitment to ensuring safe,

productive operations.”

       4.       Unknown to the market at this time, however, was that Defendants failed to

disclose, and would continue to omit, the following adverse facts pertaining to the safety

practices at the Company’s North Goonyella mine, which were privately known to or recklessly

disregarded by Defendants:

                (a)    The Company had failed to implement adequate safety controls at the

North Goonyella mine to prevent the risk of a spontaneous combustion event;

                (b)    The Company failed to follow its own safety procedures; and

                (c)    As a result, the North Goonyella mine was at a heightened risk of

shutdown.

       5.       The truth about Peabody’s inadequate safety practices was revealed when, on

September 28, 2018, a fire erupted at the mine, forcing Peabody to suspend operations

indefinitely. On this news, Peabody shares fell $5.54 per share, or 13.4 percent.

       6.       Following the fire, Defendants assured the market that the Company had a

feasible plan to remediate and reopen the North Goonyella mine, and that it would be able to

extract significant coal at the mine in the near-term. Unknown to the market at this time,

however, was that Defendants failed to disclose, and would continue to omit, the following

adverse facts pertaining to the feasibility of Peabody’s plan to restart the North Goonyella mine:

                (a)    The Company’s low-cost plan to restart operations at the mine posed

unreasonable safety and environmental risks;




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                (b)    The Australian body responsible for ensuring acceptable health and

safety standards, the Queensland Mines Inspectorate (“QMI”), would likely mandate a safer,

cost-prohibitive approach; and

                (c)    As a result, there would be major delays in reopening the North

Goonyella mine and restarting coal production.

       7.       The truth about the feasibility of Peabody’s plan to restart operations at North

Goonyella was revealed through a series of disclosures. First, on February 6, 2019, Peabody

revealed that contrary to previous statements, production at the North Goonyella mine would

not resume in 2019, but was instead now targeted to begin to ramp in the early months of 2020.

On this news, Peabody shares fell by $3.80 per share, or 10.6%.

       8.       Second, on May 1, 2019, Peabody reported that it had received a directive from

QMI which could lead to further delays and necessitate a re-evaluation of the Company’s re-

entry plan. On this news, Peabody shares fell $1.61 per share, or 5.6%.

       9.       Third, on July 31, 2019, Peabody reported additional delays to the reentry of

North Goonyella, explaining that QMI’s requirements had resulted in a slower rate of progress

than Peabody’s initial plan had contemplated. As a result, Peabody suspended its 2020

production guidance at the mine and informed investors that it was reevaluating its entire

reentry plan. On this news, Peabody shares fell by $1.06 per share, or 4.8%.

       10.      Fourth, on August 9, 2019, QMI released a one-page document with its

preliminary investigative findings indicating that Peabody had deficient safety systems at North

Goonyella and that the Company was not cooperating fully with its investigation. On this news,

Peabody’s stock fell $0.37 per share, or 2 percent.




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        11.     Finally, on October 29, 2019, Peabody disclosed that QMI was placing strict

restrictions on restarting operations at the North Goonyella mine and that as a result Peabody

was forced to drastically adjust the reentry plan, ultimately announcing a three year or more

delay before any meaningful coal could be produced. On this news, Peabody shares declined

$3.56 per share, or 22 percent.

                                  JURISDICTION AND VENUE

        12.     The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC, 17

C.F.R. § 240.10b-5.

        13.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331 and 1337, and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

        14.     Venue is proper in this District pursuant to Section 27 of the Exchange Act and

28 U.S.C. §1391(b) as Peabody common stock trades on the New York Stock Exchange

(“NYSE”) located within this Judicial District. In connection with the acts alleged in this

complaint, Defendants, directly or indirectly, used the means and instrumentalities of interstate

commerce, including, but not limited to, the mails, interstate telephone communications, and the

facilities of the national securities markets.

                                                 PARTIES

        15.     Plaintiff, as set forth in the accompanying Certification, which is incorporated by

reference herein, purchased Peabody common stock during the Class Period and was damaged

as the result of Defendants’ wrongdoing as alleged in this complaint.

        16.     Defendant Peabody is a Delaware corporation headquartered in St. Louis,

Missouri. The Company’s stock is listed on the NYSE under the ticker symbol “BTU.”




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       17.      Defendant Glenn L. Kellow (“Kellow”) was, at all relevant times, Peabody’s

President and Chief Executive Officer (“CEO”), and a member of the Company’s Board of

Directors.

       18.      Defendant Amy B. Schwetz (“Schwetz”) was, at all relevant times, Peabody’s

Executive Vice President and Chief Financial Officer (“CFO”).

       19.      Defendants Kellow and Schwetz are sometimes collectively referred to herein as

the “Individual Defendants.” The Individual Defendants, because of their positions with the

Company, possessed the power and authority to control the contents of Peabody’s reports to the

SEC, press releases, and presentations to securities analysts, money portfolio managers and

institutional investors, i.e., the market. The Individual Defendants were provided with copies of

the Company’s reports and press releases alleged herein to be misleading prior to, or shortly

after, their issuance and had the ability and opportunity to prevent their issuance or cause them

to be corrected. Because of their positions and access to material non-public information

available to them, the Individual Defendants knew that the adverse facts specified herein had

not been disclosed to, and were being concealed from, the public, and that the positive

representations which were being made were then materially false and/or misleading. The

Individual Defendants are liable for the false statements pleaded herein.

       20.      Peabody and the Individual Defendants are referred to herein, collectively, as

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

                                          Background

       21.      Founded in 1883 and headquartered in St. Louis, Missouri, Peabody is currently

the largest coal mining company in the world, with operations throughout the United States and

Australia. In total, Peabody owns and operates 23 coal mines.


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       22.     The Company’s coal mines are organized into six business segments, the largest

of which is the Australian Metallurgical Mining segment, within which Peabody owns and

operates seven Australian mines. Prior to the start of the Class Period, in 2016, the Australian

Metallurgical Mining segment alone accounted for 23.1% of the Company’s revenues.

       23.     One such mine within the Australian Metallurgical Mining segment is the North

Goonyella mine, which was acquired by Peabody in 2004. The North Goonyella mine is an

underground coal mine located in Queensland, Australia. Coal from this mine is transported to

ships at Australian ports for export to customers in India, China, and South Korea.

       24.     According to The Australian Financial Review, the North Goonyella mine is

Peabody’s “most profitable single operation,” 1 and in 2017 it generated approximately $100

million out of Peabody’s total operating profit of $498 million, equaling approximately 20%.2

In May 2017, Defendant Kellow conceded the importance of the mine, describing North

Goonyella as a “high margin mine” that is the “core of [Peabody’s] met coal platform.”

       25.     In excavating coal from the North Goonyella mine, Peabody uses a method

called longwall mining. This method utilizes heavy machines underground to cut large panels

of coal, frequently up to 1,500 feet wide and two miles long. Longwall mining often causes

methane and other dangerous, flammable gases to linger underground, high concentrations of

which often occur when production rates are high and longwall mining equipment is

repositioned within the mine. This leaves the mine prone to spontaneous combustion events

when the high concentrations of flammable gases come into contact with a heat source. As a


1
  Matthew Stevens, Peabody rewrites the rulebook after wildfire at North Goonyella, THE AUSTRALIAN
FINANCIAL REVIEW (Mar. 28, 2019), https://www.afr.com/companies/mining/peabody-rewrites-the-
rulebook-after-wildfire-at-north-goonyella-20190327-p51853.
2
  Matthew Stevens, Peabody pondering life after its North Goonyella mine, THE AUSTRALIAN
FINANCIAL REVIEW (Oct. 16, 2018), https://www.afr.com/companies/peabody-pondering-life-after-its-
north-goonyella-mine-20181016-h16pr8.


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result, it is imperative that mines utilizing the longwall mining method implement adequate

safety measures to protect against these risks, including, among others, ventilation systems,

methane drainage methods, gas monitoring controls, and airtight seals.

       26.      For this reason, Peabody’s Board of Directors (the “Board”) has a “Health,

Safety, Security, and Environmental Committee” (the “Safety Committee”) that is responsible

for reviewing significant mine safety risks, policies, and performance with Peabody

management. In 2017, 2018, and 2019, the Safety Committee held 8, 9, and 6 meetings,

respectively.

       27.      On April 13, 2016, after a multi-year decline in coal prices that strained

Peabody’s ability to service its $8.8 billion debt load, the Company filed for bankruptcy

protection under Chapter 11 of the U.S. Bankruptcy Code, and Peabody’s stock was delisted

from the NYSE. A year later, on April 3, 2017, Peabody announced that it had emerged from

bankruptcy and that its stock would begin trading again on the NYSE.

       28.      Following its emergence from bankruptcy, Peabody was faced with a fragile

economic situation including a high debt load, and thus was motivated to produce high amounts

of coal while cutting safety costs in order to boost the Company’s profit.

                          Materially False and Misleading Statements

       29.      At the beginning of the Class Period, the North Goonyella mine reported record

production output. While Defendants touted these results, they misled investors about the

sustainability of North Goonyella’s coal production by failing to disclose that Peabody’s

inadequate safety measures had put the mine at a heightened risk of complete shutdown.

       30.      The Class Period begins on April 3, 2017. On that date, Peabody announced that

it had emerged from bankruptcy protection and that its stock would begin trading again on the




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NYSE under the ticker symbol “BTU.” In conjunction with that announcement, Peabody

further declared that: “In the past year, Peabody has reduced debt by more than $5 billion from

pre-filing levels at March 2016. In addition, Peabody achieved record safety this past year;

protected jobs; served global customers; reduced costs and built cash and liquidity; strengthened

the Australia platform; accelerated coal mine restoration; provided third-party bonding

assurances; and was recognized globally for sustainability.”

       31.     On May 4, 2017, Peabody reported positive financial results for its first quarter

2017. Peabody reported that its revenue had increased 29 percent to $1.33 billion over the first

quarter 2016, and that its net income increased $287.2 million to $122.1 million, the highest net

income in nearly five years. The Company also reported that its adjusted EBITDAR increased

$304.9 million to $390.0 million.

       32.     Defendant Kellow was quoted in the first quarter 2017 earnings release stating

that following the Company’s emergence from bankruptcy, “The emerged Peabody is

proceeding with a new balance sheet, improved industry fundamentals and a sharp focus on

creating value. . . . This focus begins with an emphasis on safe and productive operations that

are constantly working to move down the cost curve; carries forward with intense management

of both the asset and liability side of our balance sheet; and extends to our financial strategies

that are aimed at prioritizing higher returns for shareholders.”

       33.     On the same date, Peabody hosted a conference call with analysts and investors

to discuss the Company’s results. At the conclusion of that call, Defendant Kellow reiterated

the Company’s continued focus on safety at its mines, stating: “I would in closing like to extend

my appreciation to our employees around the world for their ongoing commitment to ensuring

safe, productive operations and continued delivery of value.”




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       34.     At the same time, in response to an analyst’s question, Defendant Kellow

reiterated the importance of the North Goonyella mine to Peabody’s overall financial well-

being, noting that “I think the high return is probably the key there. And I’ve said we’d regard

the coal or the met coal platform as being those high-margin mines in Coppabella on PCI and

North Goonyella on hard coking coal. So, I think the capital allocations and capital priorities

and the ability to expand, I think our focus would first and foremost be around those mines with

respect to capital.” He later repeated that those two mines are “what we believe two high

quality, high margin mines in North Goonyella and Coppabella.”

       35.     On July 10, 2017, Peabody filed its 2016 Form 10-K/A with the SEC. The 2016

10-K/A contained a section entitled “Risk Factors.” Among those provided, the Company

included the following potential risk warning: “Risks inherent to mining could increase the cost

of operating our business.” Under the heading, the Company elaborated: “Our mining

operations are subject to conditions that can impact the safety of our workforce, or delay coal

deliveries or increase the cost of mining at particular mines for varying lengths of time. These

conditions include . . . fires and explosions from methane gas or goal dust.” The Company

went on, “Despite our efforts, such conditions could occur and have a substantial impact on our

results of operations, financial condition or cash flows.” This purported disclosure regarding

the risk of fire and explosion from methane gas, was repeated in the 1Q 2017 10-Q, 2Q 2017

10-Q, 3Q 2017 10-Q, 1Q 2018 10-Q, 2Q 2018 10-Q and the 2017 10-K.

       36.     On August 1, 2017, Peabody reported positive financial results for the second

quarter 2017. Peabody reported that its revenues had increased 21 percent to $1.26 billion from

$1.04 billion and that its adjusted EBITDA increased $245.2 million from the same period in




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the prior year to $317.9 million, led by the Australian platform, which outpaced U.S.

contributions and contributed an additional $181.6 million over the prior year.

       37.     On the same date, Peabody hosted a conference call with analysts and investors

to discuss the Company’s results, where Defendant Kellow acknowledged that “[o]perationally,

the second quarter marked the best six months of production over the past five years at the

North Goonyella mine.” Then, at the conclusion of that call, Defendant Kellow once again

reiterated the Company’s continued focus on safety at its mines, stating that he “would like to

extend my appreciation to all our employees both at the mines and in offices for their continued

commitment to ensuring safe and productive environments.”

       38.     On October 25, 2017, Peabody once again reported positive financial results for

the third quarter 2017. Peabody reported that its revenues had increased 22 percent to $1.48

billion and that its adjusted EBITDA increased $281.1 million from the prior year to $411.3

million. The press release quoted Defendant Schwetz as stating that “Peabody continues to take

aggressive actions to reduce debt and advance the shareholder return initiatives we outlined in

August.”

       39.     On the same date, Peabody hosted a conference call with analysts and investors

to discuss the Company’s results, where Defendant Kellow claimed that: “Through all of our

actions, Peabody maintains constant vigilance toward safety.”

       40.     On February 7, 2018, Peabody reported positive financial results for the fourth

quarter and full year 2017. Peabody reported that revenues for the fourth quarter increased 5

percent over the prior year to $1.52 billion and full year 2017 revenues increased 18 percent

over the prior year to $5.58 billion, driven by, among other things, higher Australian




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metallurgical and thermal coal pricing. Peabody further reported that fourth quarter adjusted

EBITDA increased $122.2 million over the prior year to $416.2 million.

       41.     On the same date, Peabody hosted a conference call with analysts and investors

to discuss the Company’s results, where Defendant Kellow once again stated that: “At the

operational level, our global safety performance continues to surpass industry averages.

While our incidence rate edged up overall from the prior year, our Australian platform had a

record year, improving 17% from 2016. As always, we are ever vigilant on our journey of

continuous improvement in safety.” He later reiterated this point: “As always, we begin with a

focus on safe productive operations and return maximization.”

       42.     On February 22, 2018, during Peabody’s Analyst and Investor Day, Defendants

represented in an investor presentation that at the North Goonyella coal mine, “Record safety

results reflect 80% improvement since 2013.”

       43.     On April 25, 2018, Peabody again reported positive financial results for the first

quarter 2018. Peabody reported that revenues for the first quarter rose 10 percent over the prior

year to $1.46 billion and that adjusted EBITDA increased 7 percent over the prior year to

$363.0 million.

       44.     On the same date, Peabody hosted a conference call with analysts and investors

to discuss the Company’s results, where Defendant Kellow emphasized the Company and its

employees’ “ongoing focus on safe productive work places.”

       45.     In or around May 2018, Peabody published its 2017 Corporate and Social

Responsibility Report, in which it stated that Peabody “commit[s] to safety and health as a way

of life” and that “Safety is Peabody’s first value, integrated into all areas of our business.”

The report went on to state that: “A focus on improving culture and doing business better




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lifted the North Goonyella Underground Mine to new records for performance in safety,

production and development in 2017.” The report further discussed a Peabody initiative called

“Project Excellence,” which “is Peabody Australia’s cost and productivity improvement plan

that has driven initiatives critical to the platform’s sustainability without compromising

safety, achieving 2017 savings of about $130 million. The platform boasted its best-ever safety

performance and reclaimed more than 1,200 acres of land.”

       46.     Similarly, the report included a letter from Defendant Kellow in which he stated,

“Peabody’s global safety performance continues to surpass industry averages. The

Australian platform achieved a record safety year in 2017, and we remain ever vigilant on

our journey of continuous improvement in safety.”

       47.     On July 24, 2018, Peabody reported positive financial results for the second

quarter 2018. Peabody reported that revenues for the second quarter increased 4 percent over

the prior year to $1.31 billion, and that adjusted EBITDA increased $51.8 million over the prior

year to $369.6 million.

       48.     On the same date, Peabody hosted a conference call with analysts and investors

to discuss the Company’s results, where Defendant Kellow once again emphasized the

Company and its employees’ “continued focus on safe and productive workplaces.”

       49.     In August 2018, in an Investor Presentation, Defendants stated that Peabody’s

“[s]afety performance continues to outperform industry averages,” and that Peabody paid

“[s]trong attention to operational excellence by committing to safe workplaces, maximizing

resource recovery, improving environmental performance and restoring mined lands.”

       50.     On September 18, 2018, after Peabody had continuously touted its safety record

at North Goonyella for over a year, The Australian Financial Review reported that work had




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been suspended at the mine due to elevated methane and carbon monoxide levels. According to

the report, “multiple sources have indicated that the coal is generating excessive levels of heat,

that this is the source of the gas accumulation and that management is uncertain why or where

this unanticipated burst of heat is coming from.” The report further explained that “[t]hose

same sources estimate that mine management has no more than two weeks to solve both issues

because a half-moved longwall ‘cannot just sit down there for too long without moving.’”

       51.       Peabody downplayed these concerns, with the report quoting the Company as

responding: “About 2 ½ weeks ago, an area of the North Goonyella mine began registering

higher gas levels, suggesting modest elevated temperatures and low-level oxidation of some

coal.” However, the Company also stated that “[m]ine management quickly assessed the facts

[and] took appropriate steps,” and further reassured investors that 2018 coal production volumes

would not be impacted by these operational issues, noting that “the company had been trending

to the upper end of its 2018 metallurgical coal sales volume targets, and those targets have not

been revised.”

       52.       The next day, on September 19, 2018, Peabody issued Form 8-K noting that “the

[C]ompany is working toward resuming operations,” and further repeating its statements to The

Australian Financial Review, above.

       53.       Several days later, on September 25, 2018, Peabody issued another Form 8-K,

once again downplaying the significance of the issues at the North Goonyella mine and the

imminent risk of spontaneous combustion at the mine, stating that “gas levels at its North

Goonyella Mine have been variable and remain elevated. The company is working with the

Queensland Mines Inspectorate (“QMI”) and third-party experts as we continue a progressive

plan aimed at reducing gas levels and accommodating a safe return to mining operations.”




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       54.     The statements referenced in ¶¶ 30-53 above were materially false and

misleading when made because they failed to disclose the following adverse facts pertaining to

the safety practices at the Company’s North Goonyella mine, which were privately known to or

recklessly disregarded by Defendants:

               (a)     The Company had failed to implement adequate safety controls at the

North Goonyella mine to prevent the risk of a spontaneous combustion event;

               (b)     The Company failed to follow its own safety procedures; and

               (c)     As a result, the North Goonyella mine was at a heightened risk of

shutdown.

       55.     Despite these attempts to downplay the operational issues at the North Goonyella

mine, on September 28, 2018, Peabody issued a press release reporting that a fire was occurring

within the mine and that as a result, the Company did “not expect any production from North

Goonyella in the fourth quarter of 2018.” On this news, Peabody’s stock fell $5.54, or 13.5

percent, closing at $35.64 on September 28, 2018, down from the previous day’s close of

$41.18.

       56.     In the immediate aftermath of the fire, an article by The Daily Mercury published

on September 28, 2018 quoted a long-time underground operator at the North Goonyella mine

as stating that employees had been told not to talk about the incident: “We’re told ‘don’t talk to

the media, don’t talk to the media’ but I think people have a right to know.”

       57.     Then, in an investor update on October 2, 2018, Peabody stated that the fire was

mostly contained and that the Company would initiate a formal review of the fire with the

involvement of independent third parties. On October 11, 2018, Peabody further disclosed that




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the QMI would commence a safety investigation into Peabody related to the events leading up

to the North Goonyella fire.

       58.     However, even after the fire and the announcement of both an internal and a

governmental investigation, Defendants continued to mislead investors about the Company’s

plan to restart operations at North Goonyella, falsely assuring investors that the Company would

be able to mine significant coal at the North Goonyella mine in the near-term, while continuing

to conceal major issues that would impede any progress at the mine and which would ultimately

cause QMI to reject its plans. Specifically, Defendants’ statements conditioned investors to

believe that its low-cost plan to restart operations at North Goonyella was reasonable and had a

high likelihood of regulatory approval, while simultaneously omitting to disclose that the plan

posed unreasonable safety and environmental risks such that QMI would likely mandate a safer,

more cost-prohibitive approach that would cause major delays in restarting the mine.

       59.     On October 30, 2018, Peabody hosted a conference call with analysts and

investors to discuss the Company’s third quarter 2018 financial results, where Defendant

Kellow convinced investors that Peabody would in fact be able to restart operations at North

Goonyella. He stated, “based on the market reaction, it would seem that the market

contemplates an entire loss of North Goonyella. While we very much understand the concern,

based on what we know today, that conclusion is at best premature and at worst

unwarranted.” Defendant Kellow also informed investors that production in North Goonyella

may restart in the second half of 2019. Defendant Schwetz reiterated this point, noting, “The

company will take all steps to work safely, progress the plan and look to mitigate costs, while

pursuing options for a resumption of activities at the appropriate time.” On this news,

Peabody’s stock price increased by 3.4 percent.




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       60.     Analysts equated Defendants’ reassurances regarding North Goonyella to the

rising stock value, with J.P. Morgan reporting on October 30, 2018 that “[t]he market has

warmed to Peabody’s recovery plan for North Goonyella with the stock rising 4.7% compared

with the S&P’s +0.85 so far today. As CEO Kellow suggested some investors seem to believe

the mine was lost to a fire, and Peabody’s plan shows that closure is neither the company’s #1

or #2 scenario.” MKM Partners echoed this sentiment, stating that the “[u]pdate on North

Goonyella [was] encouraging,” as “[t]he base case goal it appears is to resume longwall mining

in 2H19, which we view as positive news as the shares appeared to reflect a total loss

assumption.”

       61.     However, just months later, on February 6, 2019, Peabody reported

disappointing earnings for the fourth quarter 2018, weak Q4 2018 coal production, and a soft

2019 outlook due to remediation costs and lack of production at the North Goonyella mine. At

the same time, Defendant Kellow revealed that production at the North Goonyella mine would

not resume in 2019, but was instead now targeted to “begin to ramp up in the early months of

2020.” On this news, Peabody’s stock fell $3.80, or 10.6 percent, closing at $32.05 on February

6, 2019, down from the previous day’s close of $35.85.

       62.     However, Defendant Kellow continued to mislead the market regarding the

likelihood that production at the mine would restart in the near-term, stating that: “While there

is so much work ahead of us, our base case contemplates approximately 2 million tons of sales

from North Goonyella in 2020.”

       63.     Analysts bought this story, with Clarksons Platou Securities Inc. noting that even

though higher-than-expected projected capital expenses and the anticipated costs of reopening

North Goonyella weighed on Peabody’s shares, “with that said, we view 2019 as a bit of a




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transition year, given the headwinds at North Goonyella should subside by 2020.” Credit Suisse

further noted on March 20, 2019 that “Seaborne met volumes are suppressed in the near term,

but recover in 2020,” as “the return of North Goonyella . . . position[s] Peabody well to generate

above mid-cycle EBITDA as the base business continues to perform well and volumes

normalize in 2020.” It further reported that “we believe management has developed a solid plan

of action going forward that has been well received by the market [and b]ased on our

conversations with management, we are confident in Peabody’s ability to execute on their plan

going forward.”

       64.     On March 27, 2019, the Company issued a press release entitled “Peabody

Releases Initial Learnings From North Goonyella Incident.” In that press release, Peabody

concluded that the fire resulted from a planned longwall move and further admitted that its

safety precautions were insufficient, stating that, as a result of the fire, Peabody was “making

changes in systems, processes and training, where warranted, to put into place the

improvements needed to successfully move forward from this incident.” These changes

included improvements to ventilation controls, gas level monitoring, longwall relocation

processes, and underground sealing methods.

       65.     On May 1, 2019, Peabody issued a Form 8-K reporting positive first quarter

2019 earnings that met analysts’ estimates. At the same time, however, Peabody reported that it

was “currently complying with a directive concerning documentation from the Queensland

Mines Inspectorate, following a thorough review, which has resulted in a multi-week delay to

the initial project plan.” The Company went on that “[i]f further delays occur, the company will

re-evaluate its reventilation and re-entry plans, including longwall production targets, quarterly




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project costs and capital expenditures.” On this news, Peabody’s stock fell $1.61, or 5.6

percent, closing at $27.16 on May 1, 2019, down from the previous day’s close of $28.77.

       66.     Yet Defendants continued to mislead the market regarding the possibility of

regulatory approval from QMI and the timeline for restarting the North Goonyella mine. In

connection with the release of its first quarter 2019 financial results, Peabody hosted a

conference call with analysts and investors, where Defendant Kellow stated: “Our focus at this

point is working through that process, responding to their requests for information and then

being able to – as I said, everything’s ready to flick the switch and to be out to re-ventilate and

that will enable this thing to monitor and then re-enter the mine and have a better

assessment.” He further stated, “At that point we look to re-examine the overall timing and

sequencing on the project plan, but just to reiterate, we’re ready to go, so we’re just working

through that, what is a final part of the process . . . It’s dotting the I’s and crossing the T’s

around supporting documentation with respect to chisel-out procedures and protocols that

are on the wrong side.” Defendant Schwetz reiterated this point, noting: “Related to North

Goonyella, in the first quarter, we completed segmenting of the mine into multiple zones to

facilitate a phased reventilation and reentry. In addition, all physical activities in advance of

reventilating the first segment of the mine have been completed.”

       67.     Once again, analysts believed Defendants’ statements. On May 1, 2020, J.P.

Morgan reported that: “The company also reported that it is ready to re-enter the first portion of

the North Goonyella mine but has been delayed as the Queensland Mine regulator reviews

documents.” Deutsche Bank reported on the same date that “North Goonyella undergoing

multi-week delay due to Queensland Mines Inspectorate review, but guide of 2m st of

production of 2020 remains unchanged.”




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       68.     On July 31, 2019, Peabody issued a Form 8-K again reporting positive earnings

for the second quarter 2019. However, the Company reported additional delays to the reentry

into North Goonyella due to QMI, stating: “Advancement during the recovery phase has been

subject to the discretion of the regulatory authority, special protocols and substantial related

administrative requirements, which has resulted in a far slower rate of progress than originally

contemplated.” As a result, Peabody suspended its 2020 production guidance at the mine and

informed investors that it was reevaluating its entire reentry plan. Defendant Kellow also

announced that Peabody had hired an outside firm to evaluate its organizational structure. On

this news, Peabody’s stock fell $1.06, or 4.8 percent, closing at $21.06 on July 31, 2019, down

from the previous day’s close of $22.12.

       69.     Analysts connected this stock drop to the news about North Goonyella, with J.P.

Morgan reporting on July 31, 2019 that “we expect the North Goonyella news will dominate

and depress the market’s reaction to [other positive Company news],” and, later that day

confirming, “[t]he market did not react well to Peabody’s announcement of delays at North

Goonyella.”

       70.     On the same date, however, Peabody hosted a conference call with investors and

analysts to discuss its second quarter 2019 financial results, where Defendant Kellow once

again touted the Company’s progress in reentering the mine, stating: “Turning to North

Goonyella, major progress has been made to-date including reventilation and re-entry of the

mine. We’ve also learned a substantial amount since we commenced activities underground

earlier this month.”




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        71.      Analysts accepted this story, with Deutsche Bank noting on August 4, 2019 that

“Key catalysts for the stock include . . . progress at North Goonyella where we expect the

market has now rebased down, so any announcements could be positive.”

        72.      On August 9, 2019, QMI released a one-page document with its preliminary

investigative findings indicating that Peabody had deficient safety systems at North Goonyella

and that the Company was not cooperating fully with its investigation. Specifically, QMI noted

that all Peabody employees chose not to be interviewed by the agency. Among other things, the

following observations were included in the report:

                 (a)     Review of the mine’s records suggests that gas trends were not given

sufficient consideration, which may have impacted the way in which [trigger action response

plans3] were applied and actioned;

                 (b)     Some key reports relating to the mine’s ventilation plan, gas alarm

system and explosion risk zone controls do not appear to have been reviewed or countersigned

by key personnel, as required under the mine’s safety and health management system;

                 (c)     There is evidence that some boreholes located deep within the 9N goaf

region were insufficiently sealed, allowing an ingress of oxygen into active goaves, with the

potential to escalate conditions for spontaneous combustion; and

                 (d)     There is evidence to suggest the mine did not follow its own procedures

relating to major ventilation changes.

        73.      On this news, Peabody’s stock fell $0.37, or 2 percent, closing at $18.13 on

August 9, 2019, down from the previous day’s close of $18.50.




3
  A Trigger Action Response Plan (“TARP”) is a list of documented and known mining hazards and set of actions
that managers and supervisors must follow when these hazards materialize based on certain triggering events.


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                             THE TRUTH IS FULLY REVEALED

       74.     On October 29, 2019, Peabody issued a Form 8-K reporting a third quarter 2019

loss of $0.88 per share, as compared with positive third quarter 2018 earnings of $0.63 per

share, missing analysts’ consensus expectations by more than 50 percent. At the same time,

Peabody disclosed for the first time that QMI’s strict restrictions on restarting operations at the

North Goonyella mine would result in a three or more year delay before any meaningful coal

could be produced.

       75.     During the subsequent earnings call, Defendant Kellow elaborated on this

revelation, stating that: “Overall, we believe the highly restrictive approach from QMI has

required a greatly disciplined approach from Peabody. As such, we have identified a preferred

path, which . . . represent[s] significant lower risk, the best path to return the regular way

mining and maximizes the value of a mine with a potential life of several decades.” Defendant

Kellow went on to explain that even the beginning steps of that new plan were still “contingent

on obtaining pre-approval from QMI.”

       76.      On this news, Peabody’s stock fell $3.56, or 22 percent¸ closing at $12.48 on

October 29, 2019, down from the previous day’s close of $16.04.

       77.     Analysts were taken by surprise, with Deutsche Bank reporting on October 29,

2019 that “[a]t North Goonyella, the company will now change its focus to the southern panels

and does not expect material production for 3+ years now (vs an original plan of 2020).” It

also stated that “[t]he next few quarters will likely be a further transition period for the

company, with the additional work at North Goonyella.”

                              UNDISCLOSED ADVERSE FACTS

       78.     The market for Peabody stock was open, well-developed and efficient at all

relevant times. As a result of these materially false and/or misleading statements, and/or


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failures to disclose, Peabody common stock traded at artificially inflated prices during the Class

Period. Plaintiff and other members of the Class purchased or otherwise acquired Peabody

shares relying upon the integrity of the market price of the Company’s common stock and

market information relating to Peabody, and have been damaged thereby.

       79.     During the Class Period, Defendants materially misled the investing public,

thereby inflating the price of Peabody common stock, by publicly issuing false and/or

misleading statements and/or omitting to disclose material facts necessary to make Defendants’

statements, as set forth herein, not false and/or misleading. These statements and omissions

were materially false and/or misleading in that they failed to disclose material adverse

information and/or misrepresented the truth about Peabody’s business, operations, and prospects

as alleged herein.

       80.     At all relevant times, the material misrepresentations and omissions

particularized in this Complaint directly or proximately caused, or were a substantial

contributing cause, of the damages sustained by Plaintiff and other members of the Class. As

described herein, during the Class Period, Defendants made, or caused to be made a series of

materially false and/or misleading statements about Peabody’s financial well-being and

prospects. These material misstatements and/or omissions had the cause and effect of creating

in the market an unrealistically positive assessment of the Company and its financial well-being

and prospects, thus causing the Company’s stock to be overvalued and artificially inflated at all

relevant times. Defendants’ materially false and/or misleading statements during the Class

Period resulted in Plaintiff and other members of the Class purchasing the Company’s stock at

artificially inflated prices, thus causing the damages complained of herein.




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                        ADDITIONAL SCIENTER ALLEGATIONS

       81.     During the Class Period, as alleged herein, the Individual Defendants acted with

scienter in that the Individual Defendants knew or were reckless as to whether the public

documents and statements issued or disseminated in the name of the Company during the Class

Period were materially false and misleading; knew or were reckless as to whether such

statements or documents would be issued or disseminated to the investing public; and

knowingly and substantially participated or acquiesced in the issuance or dissemination of such

statements or documents as primary violations of the federal securities laws.

       82.     The Individual Defendants permitted Peabody to release these false and

misleading statements and failed to file the necessary corrective disclosures, which artificially

inflated the value of the Company’s stock.

       83.     As set forth herein, the Individual Defendants, by virtue of their receipt of

information reflecting the true facts regarding Peabody, their control over, receipt, and/or

modification of Peabody’s allegedly materially misleading statements and omissions, and/or

their positions with the Company that made them privy to confidential information concerning

Peabody, participated in the fraudulent scheme alleged herein.

       84.     The Individual Defendants are liable as participants in a fraudulent scheme and

course of conduct that operated as a fraud or deceit on purchasers of Peabody stock by

disseminating materially false and misleading statements and/or concealing material adverse

facts. The scheme deceived the investing public regarding Peabody’s business, operations, and

management and the intrinsic value of Peabody stock and caused Plaintiff and members of the

Class to purchase Peabody shares at artificially inflated prices.




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                           LOSS CAUSATION/ECONOMIC LOSS

        85.    During the Class Period, as detailed herein, Peabody and Individual Defendants

made false and misleading statements and engaged in a scheme to deceive the market and a

course of conduct that artificially inflated the prices of Peabody stock, and operated as a fraud

or deceit on Class Period purchasers of Peabody shares by misrepresenting the value and

prospects for the Company’s business, growth prospects, and accounting compliance. Later,

when Defendants’ prior misrepresentations and fraudulent conduct were disclosed to the

market, the price of Peabody stock fell precipitously, as the prior artificial inflation came out of

the price. As a result of their purchases of Peabody stock during the Class Period, Plaintiff and

other members of the Class suffered economic loss, i.e., damages, under the federal securities

laws.

 APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD ON THE MARKET

        86.    Plaintiff will rely upon the presumption of reliance established by the fraud-on-

the-market doctrine in that, among other things:

               (a)     Defendants made public misrepresentations or failed to disclose material

facts during the Class Period;

               (b)     the omissions and misrepresentations were material;

               (c)     the Company’s stock traded in an efficient market;

               (d)     the misrepresentations alleged would tend to induce a reasonable investor

to misjudge the value of the Company’s common stock; and

               (e)     Plaintiff and other members of the Class purchased Peabody stock

between the time Defendants misrepresented or failed to disclose material facts and the time the

true facts were disclosed, without knowledge of the misrepresented or omitted facts.




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       87.      At all relevant times, the market for Peabody stock was efficient for the

following reasons, among others:

                (a)    as a regulated issuer, Peabody filed periodic public reports with the SEC;

                (b)    Peabody regularly communicated with public investors via established

market communication mechanisms, including through regular disseminations of press releases

on the major news wire services and through other wide-ranging public disclosures, such as

communications with the financial press, securities analysts, and other similar reporting

services;

                (c)    Peabody was followed by several securities analysts employed by major

brokerage firm(s) who wrote reports that were distributed to the sales force and certain

customers of their respective brokerage firm(s) and that were publicly available and entered the

public marketplace; and

                (d)    Peabody common stock was actively traded in an efficient market,

namely the NYSE, under the ticker symbol “BTU.”

       88.      As a result of the foregoing, the market for Peabody securities promptly digested

current information regarding Peabody from all publicly available sources and reflected such

information in Peabody’s stock price. Under these circumstances, all purchasers of Peabody

common stock during the Class Period suffered similar injury through their purchase of

Peabody common stock at artificially inflated prices and the presumption of reliance applies.

       89.      Further, to the extent that the Defendants concealed or improperly failed to

disclose material facts with regard to the Company, Plaintiff is entitled to a presumption of

reliance in accordance with Affiliated Ute Citizens v. United States, 406 U.S. 128, 153 (1972).




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                                      NO SAFE HARBOR

       90.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements”

when made and there were no meaningful cautionary statements identifying important factors

that could cause actual results to differ materially from those in the purportedly forward-looking

statements. In the alternative, to the extent that the statutory safe harbor is determined to apply

to any forward-looking statements pleaded herein, Defendants are liable for those false forward-

looking statements because at the time each of those forward-looking statements were made, the

speaker had actual knowledge that the forward-looking statement was materially false or

misleading, and/or the forward-looking statement was authorized or approved by an executive

officer of Peabody who knew that the statement was false or misleading when made.

                              CLASS ACTION ALLEGATIONS

       91.     Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure on behalf of all person or entities who or which purchased or

otherwise acquired Peabody common stock during the Class Period, and were damaged thereby

(the “Class”). Excluded from the Class are: Defendants (as defined herein); any officers or

directors of Defendants during the Class Period (the “Excluded D&Os”); members of

Defendants’ and the Excluded D&Os’ immediate families; the subsidiaries and affiliates of the

Company, including the Company’s employee retirement and benefit plan(s) and their

participants or beneficiaries, to the extent they made purchases through such plan(s); any entity




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in which Defendants or the Excluded D&Os have or had a controlling interest; and the legal

representatives, heirs, successors or assigns of any excluded person or entity.

       92.     There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class which

predominate over questions which may affect individual Class members include:

               (a)     Whether the Exchange Act was violated by Defendants;

               (b)     Whether Defendants omitted and/or misrepresented material facts;

               (c)     Whether Defendants’ statements omitted material facts necessary in order

to make the statements made, in light of the circumstances under which they were made, not

misleading;

               (d)     Whether Defendants knew or recklessly disregarded that their statements

were false and misleading;

               (e)     Whether the price of Peabody stock was artificially inflated; and

               (f)     The extent of the damage sustained by Class members and the

appropriate measure of damages.

       93.     Plaintiff’s claims are typical of those of the Class because Plaintiff and the Class

sustained damages from Defendants’ wrongful conduct.

       94.     Plaintiff will adequately protect the interests of the Class and has retained

counsel experienced in securities class action litigation. Plaintiff has no interests that conflict

with those of the Class.

       95.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.




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                                            COUNT I

                      For Violation of Section 10(b) of the Exchange Act
                           and Rule 10b-5 Against All Defendants

        96.    Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

        97.    During the Class Period, Defendants disseminated or approved the false

statements specified above, which they knew or recklessly disregarded were misleading in that

they contained misrepresentations and failed to disclose material facts necessary in order to

make the statements made, in light of the circumstances under which they were made, not

misleading.

        98.    Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5 in that

they:

               (a)     Employed devices, schemes, and artifices to defraud;

               (b)     Made untrue statements of material facts or omitted to state material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading; or

               (c)     Engaged in acts, practices, and a course of business that operated as a

fraud or deceit upon Plaintiff and others similarly situated in connection with their purchases of

Peabody common stock during the Class Period.

        99.    Plaintiff and the Class have suffered damages in that, in reliance on the integrity

of the market, they paid artificially inflated prices for Peabody shares. Plaintiff and the Class

would not have purchased Peabody stock at the prices they paid, or at all, if they had been

aware that the market prices had been artificially and falsely inflated by Defendants’ misleading

statements.



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       100.    As a direct and proximate result of these Defendants’ wrongful conduct, Plaintiff

and the other members of the Class suffered damages in connection with their purchases of

Peabody stock during the Class Period.

                                            COUNT II

                      For Violation of Section 20(a) of the Exchange Act
                             Against the Individual Defendants

       101.    Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       102.    The Individual Defendants acted as controlling persons of Peabody within the

meaning of Section 20(a) of the Exchange Act. By virtue of their positions and their power to

control public statements about Peabody, the Individual Defendants had the power and ability to

control the actions of Peabody and its employees. By reason of such conduct, Defendants are

liable pursuant to Section 20(a) of the Exchange Act.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       A.      Determining that this action is a proper class action, designating Plaintiff as Lead

Plaintiff and certifying Plaintiff as a Class representative under Rule 23 of the Federal Rules of

Civil Procedure and Plaintiff’s counsel as Lead Counsel;

       B.      Awarding compensatory damages in favor of Plaintiff and the other Class

members against all Defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

       C.      Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and




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         D.     Awarding such equitable/injunctive or other relief as deemed appropriate by the

Court.

                                         JURY DEMAND

         Plaintiff demands a trial by jury.

DATED: September 28, 2020                            Respectfully submitted,

                                                     LABATON SUCHAROW LLP

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                                                     Attorneys for Plaintiff




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                                           CERTIFICATION

        I, Chase Rankin, as Executive Director of Oklahoma Firefighters Pension and Retirement

System (“Oklahoma Fire”), hereby certify as follows:

        1.      I am fully authorized to enter into and execute this Certification on behalf of

Oklahoma Fire. I have reviewed a complaint filed against Peabody Energy Corporation

(“Peabody”) alleging violations of the federal securities laws;

        2.      Oklahoma Fire did not purchase Peabody Energy common stock at the direction of

counsel or in order to participate in any private action under the federal securities laws;

        3.      Oklahoma Fire is willing to serve as a lead plaintiff and representative party in this

matter, including providing testimony at deposition and trial, if necessary;

        4.      Oklahoma Fire’s transactions in Peabody common stock during the Class Period are

reflected in Exhibit A, attached hereto;

        5.      Oklahoma Fire sought to serve or currently serves as a lead plaintiff in the following

class actions under the federal securities laws filed during the last three years:

                       Weiner v. Tivity Health, Inc., No. 3:17-cv-01469 (M.D. Tenn.)
                    Giugno v. Bristol-Myers Squibb Co., No. 3:18-cv-00878 (N.D. Cal.)
                       In re Campbell Soup Co. Sec. Litig., No. 1:18-cv-14385 (D.N.J.)
                      Mulquin v. Nektar Therapeutics, No. 4:18-cv-06607 (N.D. Cal.)
   West Palm Beach Firefighters’ Pension Fund v. Conagra Brands, Inc., No. 1:19-cv-01323 (N.D. Ill.)
                Potts v. Weight Watchers International, Inc., No. 1:19-cv-02005 (S.D.N.Y.)
Employees' Ret. Sys. of the Puerto Rico Electric Power Authority v. Conduent Inc., No. 2:19-cv-08237 (D.N.J.)
                     Logan v. ProPetro Holding Corp., No. 7:19-cv-00217 (W.D. Tex.)
                         In re Farfetch Ltd. Sec. Litig., No. 1:19-cv-08657 (S.D.N.Y.)
                  In re Resideo Technologies, Inc. Sec. Litig, No, 0:19-cv-02863 (D. Minn.)
                   Hayden v. Portola Pharmaceuticals Inc., No. 3:20-cv-00367 (N.D. Cal.)
             In re Six Flags Entertainment Corp. Sec. Litig., No. 4:20-cv-00201 (N.D. Tex.)

        6.      Oklahoma Fire sought to serve as a representative party, but not as a lead plaintiff, in

the following class action under the federal securities laws filed during the last three years:

               Oklahoma Firefighters Pension & Retirement System v. United States Steel Corp.,
                                     No. 2:19-cv-00470 (W.D. Pa.)
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        7.      Beyond its pro rata share of any recovery, Oklahoma Fire will not accept payment

for serving as a lead plaintiff and representative party on behalf of the Class, except the

reimbursement of such reasonable costs and expenses (including lost wages) as ordered or approved

by the Court.

        I declare under penalty of perjury, under the laws of the United States, that the foregoing is

true and correct this ______ day of September, 2020.


                                                        ____________________________
                                                        Chase Rankin
                                                        Executive Director
                                                        Oklahoma Firefighters Pension and Retirement System




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                                EXHIBIT A

           TRANSACTIONS IN PEABODY ENERGY CORPORATION

Transaction Type   Trade Date     Shares      Price Per Share    Cost / Proceeds
Purchase            07/26/18          3,320             $44.08        ($146,355.56)
Purchase            07/31/18            564             $42.41         ($23,921.83)
Purchase            08/01/18            881             $42.56         ($37,497.03)
Purchase            08/02/18          1,845             $42.74         ($78,857.15)
Purchase            03/08/19          1,859             $30.93         ($57,507.05)
